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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 John Doe.
                                                              Case No. 2:21-cv-20706
                Plaintiff,
                                                              Motion for Costs and Fees Incurred
        v.                                                    from Defendant’s Failure to Waive
                                                              Service Pursuant to FRCP 4(d)
 Baila Sebrow

                Defendant


       PLEASE TAKE NOTICE that Plaintiff, by and through his undersigned counsel, Daniel

Szalkiewicz & Associates, P.C. shall move before Magistrate Judge Edward S. Kiel, upon the

accompanying Declaration of Daniel S. Szalkiewicz dated July 7, 2022 and the exhibits annexed

thereto, on August 1, 2022, for an Order granting Plaintiff the expenses incurred in making

service and the reasonable expenses, including attorney’s fees, of any motion required to collect

service expenses.

Dated: New York, New York
       July 7, 2022
                                             Daniel Szalkiewicz & Associates, P.C.
                                             By:     /s/ Daniel S. Szalkiewicz
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